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 1 MICHAEL MCSHANE (127944)                                       **E-filed 5/1/07**
   AUDET & PARTNERS, LLP
 2 221 Main Street, Suite 1460
   San Francisco, CA 94105-1938
 3 Telephone:    (415) 568-2555
   Facsimile:    (415) 568-2556
 4 mmcshane@audetlaw.com

 5 STEVE W. BERMAN
   HAGENS BERMAN SOBOL SHAPIRO LLP
 6 1301 Fifth Avenue, Suite 2900
   Seattle, WA 98101
 7 Telephone: (206) 623-7292
   Facsimile: (206) 623-0594
 8 steve@hbsslaw.com
   george@hbsslaw.com
 9
   DANIEL HUME
10 KIRBY McINERNEY & SQUIRE, LLP
   830 Third Avenue
11 New York, NY 10022
   Telephone: (212) 371-6600
12 Facsimile: (212) 751-2540
   dhume@kmslaw.com
13
   Attorneys for Plaintiffs and Proposed Class
14
   [Additional Counsel Listed On Signature Page]
15

16                            UNITED STATES DISTRICT COURT
17                          NORTHERN DISTRICT OF CALIFORNIA
18                                     SAN JOSE DIVISION
19
   MICHAEL MALONE, individually and on             )   Case No. C-07-01882-JF
20 behalf of all others similarly situated,        )
                                                   )                    --------------- CASE
                                                       STIPULATION AND [PROPOSED]
21                             Plaintiff,          )   MANAGEMENT ORDER NO. 1
                                                   )
22         vs.                                     )
                                                   )
23                                                 )
     EBAY INC.,                                    )
24                                                 )
                               Defendant.          )
25                                                 )

26

27

28
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 1                  WHEREAS Plaintiff Michael Malone, on behalf of himself and all other similarly situated

 2 consumers who sold items through eBay Inc.’s (“eBay” or “Defendant”) auction service and were

 3 charged fees by eBay’s online payment system, filed a complaint on March 8, 2007, in the Western

 4 District of Texas, against eBay, alleging violations of federal and state antitrust laws and state

 5 consumer protection laws (Malone v. eBay, C.A. No. 1:07-CV-00174 (W.D. Tex.) (Yeakel,

 6 U.S.D.J.));

 7                  WHEREAS prior to Defendant’s answer or response, and at Defendant’s request, on April 4,

 8 2007, Malone filed (i) with the Western District of Texas a notice of voluntary dismissal and (ii)

 9 with this Court the instant complaint (the “Malone” action), Case No. 07-01882-JF;

10                  WHEREAS the action names eBay Inc. as Defendant and is brought on behalf of users of
11 eBay Inc.’s on-line payment service, PayPal, who have allegedly paid excess fees on PayPal

12 transactions;

13                  WHEREAS Plaintiffs Ann Farmer and Todd Van Pelt filed a complaint against eBay in this
14 District on April 23, 2007, Farmer, et al. v. eBay, Inc., Case No. C-07-02209, relating to the same

15 subject matter and asserting substantially the same claims as Malone;

16                  WHEREAS counsel for all Plaintiffs have each concluded that it is in the best interests of the
17 respective parties and absent putative class members that the above-captioned actions be

18 consolidated for all purposes and proceed as contemplated herein;

19                  WHEREAS all served parties, through their respective counsel, have stipulated to the terms

20 provided herein;

21                  WHEREAS it is anticipated that additional related actions may be transferred to, removed to,

22 or filed in this Court; and

23                  WHEREAS the existence of common questions of law and fact in the actions now pending

24 before this Court, the interests of fair and efficient administration of the actions and the avoidance of

25 unnecessary duplicative efforts, warrants the consolidation of the actions, and the setting of a status

26 conference to discuss, among other things, future motion practice and discovery, and good cause

27 appearing therefore;

28


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 1                  IT IS HEREBY STIPULATED, AGREED AND ORDERED AS FOLLOWS:
 2 I.               CONSOLIDATION OF RELATED ACTIONS
 3                  1.   The Court finds that Malone v. eBay Inc., Case No. 07-01882-JF and Farmer, et al. v.

 4 Ebay, Inc., Case No. C-07-02209 are related actions and such cases are hereby consolidated into

 5 Malone v. eBay Inc., Case No. 07-01882-JF, and are referred to herein as the Consolidated Action.

 6 II.              MASTER DOCKET FILE
 7                  2.   The Clerk shall establish and maintain a Master Docket and Master File for this

 8 proceeding under the caption “In re eBay Seller Antitrust Litigation,” Case No. C-07-01882-JF. All

 9 orders, pleadings, motions, and other documents should, when filed and docketed in the Master File,

10 be deemed filed and docketed in each individual case.

11                  3.   Every pleading filed in these Consolidated Actions, or in any separate action included
12 therein, shall bear the following caption:

13                                     UNITED STATES DISTRICT COURT
14                                  NORTHERN DISTRICT OF CALIFORNIA
15                                              SAN JOSE DIVISION
16
   IN RE EBAY SELLER ANTITRUST                                    Case No. C-07-01882-JF
17 LITIGATION

18
                    4.   These Consolidated Actions are subject to Electronic Case Filing (“ECF”), pursuant
19
     to General Order 45, Section VI of which requires that all documents in such a case be filed
20
     electronically. General Order 45 provides at Section VI(A) that “Each attorney of record is
21
     obligated to become an ECF User and be assigned a user ID and password for access to the system
22
     upon notification that the action is subject to ECF.” If she or he has not already done so, counsel
23
     shall register forthwith as an ECF User and be issued an ECF User ID and password. Forms and
24
     instructions can be found on the Court’s website at https://ecf.cand.uscourts.gov.
25
                    5.   All counsel shall be required to register immediately for ECF filing, and ECF filing in
26
     Case No. C-07-01882-JF shall be deemed sufficient service on all parties for all documents able to
27
     be publicly filed, and that parties are excused from any duty under General Order 45, part (IX)(C)(2)
28


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 1 to serve paper copies of any filing in these proceedings, with the exception of filings made under

 2 seal.

 3                  6.   At the time of filing of original papers with the Clerk’s Office, the parties will submit

 4 one additional conformed copy of each document designated “JF Chambers Copy.”

 5 III.             APPLICABILITY OF ORDER
 6                  7.   This Order shall apply to all actions instituted in, removed to, or transferred to this

 7 Court that involve the same or substantially similar issues of law and fact (collectively, “the

 8 Consolidated Actions.”), subject to the following procedures:

 9                       (a)     When such a case is filed in, removed to, or transferred to this Court, the

10 Clerk of the Court shall:

11                               (i)     place a copy of this Order in the separate file for such action;
12                               (ii)    provide a copy of this Order by mail or electronically pursuant to local
13 rules to counsel for Plaintiff(s) in the newly-filed or transferred action and to any Defendant(s) in the

14 newly-filed or transferred action; and

15                               (iii)   make an appropriate entry on the Master Docket for the Consolidated
16 Actions.

17                       (b)     Each new case that arises out of the subject matter of the Consolidated Action,
18 which is filed in this Court or transferred to this Court, shall be consolidated with the Consolidated

19 Actions and this Order shall apply to that action, unless a party in such newly-filed or transferred

20 action objects to consolidation, within ten (10) days after the date upon which a copy of this Order is

21 served on counsel for such party, by filing an application for relief, and this Court deems it

22 appropriate to grant such application.

23                  8.   Counsel shall call to the attention of the Court and the Clerk the filing or transfer of

24 any case which might properly be consolidated with the Consolidated Actions. Mailing or other

25 delivery of a copy of this Order by Defendant’s counsel or Plaintiffs’ counsel, as appropriate, to the

26 counsel in any newly-filed or transferred actions shall constitute valid notice thereof for purposes of

27 establishing its applicability to such action in accordance with this Order.

28


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 1 IV.              APPOINTMENT OF INTERIM CLASS COUNSEL
 2                  9.    Pursuant to Rule 23(g)(2), the Court will appoint interim co-lead counsel to act on

 3 behalf of class members as well as on behalf of other counsel for the Plaintiffs.

 4 V.               FILING AND SERVICE OF CONSOLIDATED COMPLAINT AND
                    RESPONSIVE PLEADINGS
 5
                    10.   Plaintiffs shall file a Consolidated Class Action Complaint on or before May 11,
 6
     2007. The Consolidated Class Action Complaint shall serve as the Operative Complaint in this
 7
     action and shall supersede any other complaint previously filed in Malone and/or any related case.
 8
                    11.   Waiving only the defenses of insufficiency of process and insufficiency of service of
 9
     process, the undersigned counsel, on behalf of Defendant, shall acknowledge service of the
10
     Operative Complaint in this action. Defendant is hereby expressly relieved from answering or
11
     otherwise responding to the initial complaint or any complaint filed in any subsequent civil action
12
     that is consolidated with this action.
13
                    12.   If the Defendant elects to answer the Operative Complaint, its Answer shall be filed
14
     no later than June 8, 2007.
15
                    13.   If the Defendant elects to move in response to the Operative Complaint, its motion
16
     shall be filed no later than June 8, 2007. Plaintiffs shall file their response to any motion no later
17
     than July 6, 2007. Defendant shall file its reply papers in support of any such motion no later than
18
     July 27, 2007.
19
                    14.   The hearing on any motion to dismiss shall be set to coincide with a Case
20
     Management Conference, on August 10, 2007, or as soon thereafter as may be heard by the Court, or
21
     in the event that the Defendant answers the Operative Complaint, such other date as the Court may
22
     determine.
23
                    15.   For purposes of the statute of limitations, the Consolidated Class Action Complaint
24
     shall be deemed to have been filed on March 8, 2007, the date in which Plaintiff Malone filed his
25
     case in the Western District of Texas.
26
     VI.            PRESERVATION OF EVIDENCE
27
                    16.   The parties shall preserve evidence in accordance with applicable law.
28


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 1 VII.             FILING OF DISCOVERY REQUESTS AND RESPONSES
 2                  17.   In accordance with Rule 5(d) of the Federal Rules of Civil Procedure, discovery

 3 requests and responses are not to be filed with the Clerk, or sent to Judge’s Chambers, except to the

 4 extent needed in connection with a motion.

 5                  IT IS SO STIPULATED AND AGREED.
 6 Dated: April 30, 2007                              AUDET & PARTNERS, LLP

 7                                                    By /s/ Michael McShane
                                                             Michael McShane
 8                                                    221 Main Street, Suite 1460
                                                      San Francisco, CA 94105-1938
 9                                                    Telephone:    (415) 568-2555
                                                      Facsimile:    (415) 568-2556
10                                                    mmcshane@audetlaw.com
11 Dated: April 30, 2007                              HAGENS BERMAN SOBOL SHAPIRO LLP
12                                                    By /s/ Steve W. Berman
                                                              Steve W. Berman
13                                                    George W. Sampson
                                                      1301 Fifth Avenue, Suite 2900
14                                                    Seattle, WA 98101
                                                      Telephone: (206) 623-7292
15                                                    Facsimile: (206) 623-0594
                                                      steve@hbsslaw.com
16                                                    george@hbsslaw.com
17                                                    HAGENS BERMAN SOBOL SHAPIRO LLP
                                                      Reed R. Kathrein (139304)
18                                                    Jeff D. Friedman (173886)
                                                      Shana E. Scarlett (217895)
19                                                    425 Second Street, Suite 500
                                                      San Francisco, California 94107
20                                                    Telephone: (415) 896-6300
                                                      Facsimile: (415) 896-6301
21                                                    reed@hbsslaw.com
                                                      shanas@hbsslaw.com
22                                                    jefff@hbsslaw.com

23 Dated: April 30, 2007                              KIRBY McINERNEY & SQUIRE, LLP

24                                                    By /s/ Daniel Hume
                                                              Daniel Hume
25                                                    David Kovel
                                                      Beverly Tse (237240)
26                                                    830 Third Avenue
                                                      New York, NY 10022
27                                                    Telephone: (212) 371-6600
                                                      Facsimile: (212) 751-2540
28                                                    dkovel@kmslaw.com


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 1
                                              FINKELSTEIN THOMPSON LLP
 2                                            Mila Bartos
                                              Doug Thompson
 3                                            The Duvall Foundry
                                              1050 30th Street, N.W.
 4                                            Washington, DC 20007
                                              Telephone: (202) 337-8000
 5                                            Facsimile: (202) 337-8090
                                              mbartos@finkelsteinthompson.com
                                              dthompson@finkelsteinthompson.com
 6
                                              LAW OFFICES OF MALLISON & MARTINEZ
 7                                            Stan S. Mallison (184191)
                                              Hector Martinez (206336)
 8                                            1042 Brown Avenue, Suite A
                                              Lafayette, California 94549
 9                                            Telephone: (925) 283-3842
                                              Facsimile: (925) 283-3426
10                                            StanM@mallisonlaw.com

11                                            RABIN & PECKEL, LLP
                                              I. Stephen Rabin
12                                            Joseph P. Garland
                                              Joseph V. McBride
13                                            275 Madison Avenue
                                              Suite 420
                                              New York, New York 10016
14                                            Telephone: (212) 880-3722
                                              Facsimile: (212) 880-3716
15                                            srabin@rabinpeckel.com
                                              jpg65@columbia.edu
16                                            jmcbride@rabinpeckel.com
17                                            Attorneys for Plaintiffs and the Proposed Class
18
     Dated: April 30, 2007                    O’MELVENY & MYERS
19
                                              By /s/ Thomas P. Brown
20                                                     Thomas P. Brown
                                              Richard G. Parker (62356)
21                                            Michael F. Tubach (145955)
22                                            Embarcadero Center West
                                              275 Battery Street
                                              San Francisco, Ca 94111-3305
23                                            Telephone: (415) 984-8700
                                              Facsimile: (415) 984-8701
24                                            rparker@omm.com
                                              mtubach@omm.com
25                                            tbrown@omm.com
26                                            Attorneys for Defendant eBay Inc.
27
                                         *      *      *
28


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 1                                           ORDER
 2 IT IS SO ORDERED.

 3

 4 Dated:           5/1/07
                                               HON. JEREMY D. FOGEL
 5                                             UNITED STATES DISTRICT COURT JUDGE

 6
           I, Jeff D. Friedman, am the ECF User whose ID and password are being used to file this
 7 Stipulation And [Proposed] Case Management Order No. 1. In compliance with General Order
   45, X.B., I hereby attest that Michael McShane, Steve W. Berman, Daniel Hume, and Thomas P.
 8 Brown have concurred in this filing.

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 1                                           CERTIFICATE OF SERVICE
 2                  I hereby certify that on April 30, 2007, I electronically filed the foregoing with the Clerk

 3 of the Court using the CM/ECF system which will send notification of such filing to the e-mail

 4 addresses registered, as denoted on the attached Electronic Mail Notice List, and I hereby certify

 5 that I have mailed the foregoing document or paper via the United States Postal Service to the

 6 non-CM/ECF participants indicated on the attached Manual Notice List.

 7
                                                          /s/ Jeff D. Friedman
 8                                                        JEFF D. FRIEDMAN

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Mailing Information for a Case 5:07-cv-01882-JF
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

   z   Brynly R. Llyr
       bllyr@omm.com dbordessa@omm.com

   z   Michael McShane
       mmcshane@audetlaw.com

   z   I. Stephen Rabin
       srabin@rabinpeckel.com info@rabinpeckel.com

   z   Beverly Tse
       btse@kmslaw.com

Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.

Ann Farmer

Joseph P. Garland
Klein & Solomon LLP
275 Madison Avenue
11th Floor
New York, NY 10016

Daniel Hume
Attorney at Law
830 Third Avenue
10th Floor
New York, NY 10022

David E. Kovel
Kirby McInerney Squire LLP
830 Third Avenue
New York, NY 10022

Joseph V. McBride
Murray Frank & Sailer        LLP
275 Madison Avenue
New York, NY 10016




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